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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Norfolk Division

JAMES W. SMITH, Administrator of the
Estate of Victor Rhea Fountain, deceased,

Plaintiff,

vo Case No.: 2:20cv77
WELLPATH, LLC, et al.,

Defendants.

SETTLEMENT CONFERENCE ORDER

This case has been referred to the undersigned for a settlement conference. In order to
facilitate the just and expeditious resolution of this case, it is ORDERED as follows:

1. All parties and their lead counsel are required to appear at a settlement conference
scheduled in the United States District Court, 600 Granby Street, Norfolk, Virginia 23510, at 9:30
a.m. on Thursday, September 14, 2023, for the purpose of conducting discussions, in good faith,
towards a compromised resolution of this case. Counsel must notify parties attending the
settlement conference that electronic equipment (cell phones, pagers, laptops, etc.) is not permitted
in the courthouse without the express permission of the Court.

2. EACH PARTY MUST BRING TO THE SETTLEMENT CONFERENCE A
PERSON WITH FULL AND COMPLETE AUTHORITY TO SETTLE THE CASE. Local
Civil Rule 83.6.

3. No party representative or party shall appear at the conference via telephone
without first obtaining Court approval.

4, The authority of persons in attendance shall include the ability to completely
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resolve all facets of the case without the need to seek or obtain additional authority from persons
not in attendance. An insured party shall appear together with a representative of the insurer with
authority to negotiate and conclude a settlement. An uninsured corporate party shall appear by a
party representative with authority to negotiate and conclude a settlement. If there are issues
involving medical or other liens, plaintiff shall attempt to have a representative for the lienholder
present or available by telephone with authority to negotiate and conclude a settlement.

5. Prior to the settlement conference, the parties should make a good faith effort to
negotiate and settle the case. Specific proposals and counter proposals beyond the initial offer and
demand should be exchanged.

6. The substantive negotiations at the settlement conference are confidential and may
not be used by the parties for any purpose other than settlement. Federal Rule of Evidence 408.

7. The parties must:

a. Submit a brief memorandum of five pages or less directly to the
chambers of the undersigned (do not file in the clerk’s office) by NOON
on Thursday, September 7, 2023. Do not serve a copy of the letter on the
opposing party unless you wish to disclose your settlement position. The
memorandum can be emailed to:
angilee_dimartino@vaed.uscourts.gov
emma_downing@vaed.uscourts.gov

b. The memorandum will be considered and maintained on a confidential basis
at all times.

c. The memorandum should address the following:
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i. An objective overview of the basic allegations and relevant facts;

ii. A realistic assessment of the strengths and weaknesses of each
party’s position;

ili. A summary of settlement discussions to date;

iv. A statement of settlement expectations (to include proposed

settlement offers); and

Vv. Identify the lawyers and party representatives who will attend the
conference.
8. If the case presents unusual circumstances, or if you have any questions, counsel

are encouraged to set up a conference call with the undersigned.

9. At the settlement conference, counsel must be prepared to provide a brief oral
presentation outlining the factual and legal highlights of the case to be followed by separate
confidential caucuses.

10. The parties must be prepared to reduce to memorandum form at the conclusion of
the conference the basic terms of any settlement agreement. In the alternative, the court may
require counsel and the parties to state the terms of the settlement agreement on the record.

11. If ex parte or other confidential discussions occur during the settlement conference,
the undersigned will not conduct any other hearing or make any further decisions in this case after
beginning the settlement conference. The undersigned will not disclose the information received
during the settlement conference to anyone without the permission of the party providing the
information. The discussions occurring in the settlement conference may not be used by or against

any party. Federal Rule of Evidence 408.
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12. Ifa party appears at the settlement conference without having complied with the
requirements of this Order, the Court may continue or cancel the settlement conference, and may
assess against the noncomplying party, attorney, or both, a monetary sanction which may include
the fees and expenses incurred by the other parties in attending the settlement conference.

13. JF THE MATTER IS SETTLED AT ANY TIME BEFORE THE
CONFERENCE TAKES PLACE, THE PARTIES ARE DIRECTED TO APPRISE THE
CHAMBERS OF THE UNDERSIGNED.

The Clerk is DIRECTED to forward a copy of this Order to all counsel of record.

It isso ORDERED.
L
Lawrence R” Leonard
United States Magistrate Judge
Norfolk, Virginia

July 21, 2023
